Case 5:17-cr-00039-H        Document 124        Filed 08/16/17      Page 1 of 1     PageID 248



                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                 LUBBOCK DIVISION

UNITED STATES OF AMERICA                        )
                                                )
v.                                              )   NO. 5:17-CR-039-01-C
                                                )   ECF
LEOPOLDO HERRERA-GANDARA                        )



               ORDER ACCEPTING REPORT AND RECOMMENDATION
                  OF THE UNITED STATES MAGISTRATE JUDGE
                        CONCERNING PLEA OF GUILTY

       After reviewing all relevant matters of record, including the Notice Regarding Entry of a

Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation Concerning

Plea of Guilty of the United States Magistrate Judge, and no objections thereto having been filed

within fourteen (14) days of service in accordance with 28 U.S.C. § 636(b)(1), the undersigned

District Judge is of the opinion that the Report and Recommendation of the Magistrate Judge

concerning the Plea of Guilty is correct, and it is hereby accepted by the Court. Accordingly, the

Court accepts the plea of guilty and Defendant is hereby adjudged guilty.

       Sentence will be imposed in accordance with the Court’s scheduling order.

       SO ORDERED.

       Dated August 16, 2017.




                                             SAM R. CUMMINGS
                                             SENIOR UNITED STATES DISTRICT JUDGE
